          Case 3:19-cv-01398-RV-EMT Document 12 Filed 08/12/19 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
DARIUS EAST,
     Plaintiff,                               CASE NO.: 3:19-CV-1398-RV/EMT
v.

DISCOVER PRODUCTS, INC.,
     Defendant.
                                   /
            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

          COMES NOW the Plaintiff, Darius East, and the Defendant, Discover

Products, Inc., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against

the Defendant in the above styled action, with Plaintiff and Defendant to bear their

own attorney’s fees, costs and expenses.

          Respectfully submitted this 12th day of August, 2019.

/s/ Octavio Gomez                             /s/ Jacqueline A. Simms-Petredis
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